       Case 6:22-cv-01047-KC Document 32 Filed 03/10/23 Page 1 of 16




                         UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                                WACO DIVISION

VIAAS, INC.,                            Case No. 6:22-cv-01047-KC

               Plaintiff,

      v.                                JURY TRIAL DEMANDED

CISCO SYSTEMS, INC.,

               Defendant.


           DEFENDANT CISCO SYSTEMS, INC.’S MOTION TO DISMISS
                         UNDER RULE 12(B)(1)
               Case 6:22-cv-01047-KC Document 32 Filed 03/10/23 Page 2 of 16




                                                   TABLE OF CONTENTS

                                                                                                                                           Page

STATEMENT OF ISSUES ............................................................................................................ 1
I.        INTRODUCTION .............................................................................................................. 2
II.       BACKGROUND ................................................................................................................ 3
          A.        Patent Assignment History ..................................................................................... 3
III.      LEGAL STANDARDS ...................................................................................................... 5
          A.        Constitutional Standing........................................................................................... 5
IV.       ARGUMENTS .................................................................................................................... 6
          A.        VIAAS Lacks Standing Because Third Iris Corp., Not VIAAS, Owns the
                    Patents ..................................................................................................................... 6
          B.        VIAAS Lacks Standing Because the Agreement between Barracuda and
                    VIAAS Never Conveyed Interest in the Patents to VIAAS ................................... 9
          C.        Even If VIAAS Has Limited Rights to the Asserted Patents, It Does Not
                    Have an Exclusionary Right ................................................................................... 9
V.        CONCLUSION ................................................................................................................. 10




                                                                       i
              Case 6:22-cv-01047-KC Document 32 Filed 03/10/23 Page 3 of 16




                                                TABLE OF AUTHORITIES

                                                                                                                                 Page(s)

Cases

Acceleration Bay LLC v. Activision Blizzard Inc.,
   2017 WL 3668597 (D. Del. Aug. 24, 2017) ............................................................................10

Advanced Video Techs., LLC v. HTC Corp.,
   103 F. Supp. 3d 409 (S.D.N.Y. 2015)....................................................................................7, 8

Akazawa v. Link New Tech. Int’l, Inc.,
   520 F.3d 1354 (Fed. Cir. 2008)..................................................................................................7

Climb Tech, LLC v. Reeves,
   2009 WL 10670045 (W.D. Tex. Feb. 11, 2009) ................................................................5, 6, 9

Enzo APA & Son, Inc. v. Geapag A.G.,
   134 F.3d 1090 (Fed. Cir. 1998)..................................................................................................5

Land v. Dollar,
   330 U.S. 731 (1947) ...................................................................................................................6

Lujan v. Defenders of Wildlife,
   504 U.S. 555 (1992) ...................................................................................................................5

Morrow v. Microsoft Corp.,
  499 F.3d 1332 (Fed. Cir. 2007)......................................................................................5, 10, 11

Script Sec. Sols., LLC v. Amazon.com, Inc.,
    2016 WL 6433776 (E.D. Tex. Oct. 31, 2016) ...........................................................................6

Speedplay, Inc. v. Bebop, Inc.,
   211 F.3d 1245 (Fed. Cir. 2000)................................................................................................10

Steel Co. v. Citizens for a Better Env’t,
    523 U.S. 83 (1998) .....................................................................................................................5

Superior MRI Servs. v. All. HealthCare Servs.,
   778 F.3d 502 (5th Cir. 2015) .....................................................................................................6

VIAAS v. Amazon.Com,
   No. 6:22-cv-01041-KC (W.D. Tex. filed Oct. 6, 2022).............................................................2

WiAV Sols. LLC v. Motorola, Inc.,
   631 F.3d 1257 (Fed. Cir. 2010)..........................................................................................10, 11




                                                                     ii
              Case 6:22-cv-01047-KC Document 32 Filed 03/10/23 Page 4 of 16




Williamson v. Tucker,
   645 F.2d 404 (5th Cir. 1981) .....................................................................................................6

Statutes

35 U.S.C. § 100(d) ...........................................................................................................................5

35 U.S.C. § 281 ........................................................................................................................5, 7, 8

Other Authorities

Fed. R. Civ. P. 12(b)(1)..........................................................................................................2, 5, 11

Fed. R. Civ. P. 12(c) ........................................................................................................................3




                                                                     iii
       Case 6:22-cv-01047-KC Document 32 Filed 03/10/23 Page 5 of 16




                               STATEMENT OF ISSUES

1.   Should the complaint of VIAAS, Inc. be dismissed because it is not the owner of the
     patents involved in this case?

2.   Should the complaint of VIAAS, Inc. be dismissed because it lacks all substantial rights
     in the patents involved in this case?




                                             1
           Case 6:22-cv-01047-KC Document 32 Filed 03/10/23 Page 6 of 16




        Under Federal Rules of Civil Procedure 12(b)(1), Defendant Cisco Systems, Inc. (“Cisco”)

moves to dismiss the complaint filed by Plaintiff VIAAS, Inc. (“VIAAS”) for lack of standing to

bring the claims at issue.

I.      INTRODUCTION

        VIAAS alleges that Cisco infringes U.S. Patent Nos. 8,558,888 (“the ’888 patent”) and

9,472,069 (“the ’069 patent”) (collectively, the “Asserted Patents”), which are directed to

capturing and storing information from video surveillance devices. But VIAAS lacks standing to

sue Cisco for patent infringement for two separate reasons. Despite VIAAS’s allegation that it is

the “exclusive owner” of the Asserted Patents (Dkt. 1 (Complaint) ¶¶ 12, 13), the publicly-

available assignment agreements recorded with the U.S. Patent and Trademark Office (“USPTO”)

show that: (1) the patents are in fact owned by Third Iris Corp.; and (2) there is no agreement in

the chain of title that even purports to assign the patents to VIAAS. These issues, taken alone or

together, are fatal to VIAAS’s ownership claim and thus its standing to bring this lawsuit.

        This issue has now been fully briefed in the co-pending case involving Google.1 There,

VIAAS had the chance to present its best evidence to assert its ownership of the Asserted Patents,

but it presented no evidence that fills in the broken chains of title. Instead, VIAAS presented

evidence relating to a different entity, Third Iris Inc., with no explanation of how this impacts the

record owner, Third Iris Corp. Further, even assuming VIAAS has any ownership interest in the

patents, it failed to show that it has sufficient exclusionary interest. That is, the unrebutted evidence




1
 VIAAS, Inc. v. Google LLC, Case No. 6:22-cv-01048-KC, Dkt. 10 (Google’s Motion), Dkt. 22 (VIAAS’s Opposition),
Dkt. 23 (Google’s Reply). This issue has also been raised by Amazon in VIAAS, Inc. v. Amazon.com, Inc., Case No.
6:22-cv-01041, Dkt. 13 (Amazon’s Motion), Dkt. 21 (VIAAS’s Opposition) and by ADT in VIAAS, Inc. v. ADT LLC,
Case No. 6:22-cv-01046, Dkt. 17 (ADT’s Motion). VIAAS’s Opposition to Amazon’s motion did not offer any
additional evidence.


                                                       2
           Case 6:22-cv-01047-KC Document 32 Filed 03/10/23 Page 7 of 16




shows that Barracuda retains the right to sub-license the Asserted Patents, which is yet another

reason VIAAS lacks standing to bring this suit.

        For these reasons, the Complaint should be dismissed with prejudice for lack of subject

matter jurisdiction under Federal Rule of Civil Procedure 12(b)(1).

II.     BACKGROUND

        VIAAS filed suit against Cisco on October 6, 2022, alleging that Cisco has directly

infringed the Asserted Patents by making, using, testing, selling, offering for sale and/or importing

into the United States Cisco’s products. See Dkt. 1, ¶ 25. To date, VIAAS has only provided bare-

bones infringement allegations for claim 1 of the ’888 patent and claim 1 of the ’069 patent

(collectively, the “Asserted Claims”). See Dkt. 1, Exs. C, D (claim charts for the Asserted Patents).2

The ’069 patent is a divisional of the ’888 patent, and both share a common specification and name

Steven Goddard Roskowski as inventor. See Dkt. 1, Exs. A, B (Asserted Patents).

        A.       Patent Assignment History

        For the ’888 patent, the USPTO assignment database shows five purported assignments of

rights. Two of those relate to a now-released security agreement from Barracuda Networks, Inc.

(“Barracuda”) to Silicon Valley Bank, where the ’888 patent was used as collateral to secure

financing and credit from Silicon Valley Bank. (Ex. A (“Assignment 2” and “Assignment 5”)).

The initial security agreement was executed on October 3, 2012 (Ex. B at Reel: 029218/Frame:

0107) and the release of that agreement was executed on January 2, 2018 (Ex. C at Reel:

045027/Frame 0874). The remaining three purported assignments in the USPTO database are

addressed in chronological order below.




2
 Cisco is also moving to dismiss VIAAS’s Complaint for failure to state a claim under Federal Rule of Civil
Procedure 12(c). See Dkt. 11.


                                                        3
          Case 6:22-cv-01047-KC Document 32 Filed 03/10/23 Page 8 of 16




       First, on March 2, 2009, Mr. Roskowski assigned U.S. Patent Application No. 12/395,437

(“the ’437 application,” which issued as the ’888 patent) and “all Patent(s) granted on any

application which is a divisional, substitution, continuation, or continuation-in-part” of the ’437

application, to Third Iris Corp. (Ex. D at Reel: 022333/Frame: 0480). Second, the USPTO

assignment database shows that Mr. Roskowski assigned the ’888 patent to Barracuda on April 25,

2013. (Ex. A). But the document recorded for this transaction is an Indemnity Agreement between

Mr. Roskowski and Barracuda, not an assignment of patent rights. (See Ex. E at Reel:

041069/Frame: 0271). Indeed, the only use of the word “patent” in the Indemnity Agreement is in

a “No Licenses” provision. (Ex. E at Reel: 041069/Frame: 0273). The third recorded document is

a “Bill of Sale, Assignment, and Assumption Agreement” dated May 31, 2017, and an

“Amendment No. 1 to Asset Purchase Agreement,” which also includes Schedules 1.03 and 1.04

as attachments, dated June 9, 2017 (collectively, “Purported VIAAS Assignment”). (See Ex. A;

Ex. F at Reel: 042834/Frames: 0052-0057). The terms of the Purported VIAAS Assignment

promise to assign the Asserted Patents from Barracuda to VIAAS, but also grant to Barracuda “all

rights to settle or collect damages, compensation or any other recovery or legal or equitable relief

of any nature for any past, present, or future infringement of the Patents including sub-licensing

the Patents to any third party sued for infringement.” (Ex. F at Reel: 042834/Frame: 0057).

       As for the ’069 patent, the USPTO assignment database shows four purported assignments

of rights. (Ex. G). First, in a document executed October 29, 2015, Mr. Roskowski purportedly

assigned U.S. Patent Application No. 13/666,879 (“the ’879 application,” which issued as the ’069

patent) to Barracuda. (Ex. H at Reel: 036956/Frame: 0887). This purported assignment of the ’879

application occurred over six and a half years after Mr. Roskowski’s first assignment of the ’888

patent and its divisionals to Third Iris Corp. on March 2, 2009. (See Ex. D; Ex. H). The second




                                                 4
           Case 6:22-cv-01047-KC Document 32 Filed 03/10/23 Page 9 of 16




recorded document is the same Purported VIAAS Assignment discussed above. (Ex. I). The

remaining two documents are security agreements dated August 15, 2022, in which Barracuda

posted several patents including the ’069 patent as collateral for loans and credits with financial

institutions. (See Ex. G). One of those agreements is between Barracuda and UBS AG, Stamford

Branch. (Ex. J). The other is between Barracuda and KKR Loan Administration Services LLC.

(Ex. K).

III.   LEGAL STANDARDS

       A.      Constitutional Standing

       Federal Rule of Civil Procedure 12(b)(1) allows a party to move to dismiss any claims over

which the Court lacks subject matter jurisdiction. To that end, a plaintiff’s “[s]tanding implicates

the court’s jurisdiction and must be addressed before analyzing the merits of a plaintiff’s claims.”

Climb Tech, LLC v. Reeves, 2009 WL 10670045, at *4 (W.D. Tex. Feb. 11, 2009) (citing Steel Co.

v. Citizens for a Better Env’t, 523 U.S. 83, 93-102 (1998)). The “irreducible constitutional

minimum of standing” requires that the plaintiff has suffered an injury-in-fact, a causal connection

between that injury and the defendants’ alleged conduct, and a likelihood that a favorable ruling

will redress the plaintiff’s injury. Lujan v. Defenders of Wildlife, 504 U.S. 555, 560 (1992).

       In the patent context, only “[a] ‘patentee’ is entitled to bring a ‘civil action for infringement

of his patent.’” Morrow v. Microsoft Corp., 499 F.3d 1332, 1339 (Fed. Cir. 2007) (quoting 35

U.S.C. § 281). The “patentee” includes the party to whom the patent issued and the “‘successors

in title to the patentee.’” Id. (quoting 35 U.S.C. § 100(d)). Plaintiffs in patent cases who do not

have any rights in the asserted patents “lack constitutional standing,” and “[t]his standing

deficiency cannot be cured by adding the patent title owner to the suit.” Id. at 1341.

       If a licensee does not “hold all substantial rights in a patent, then the licensee only has

standing to sue as a co-plaintiff with the patentee,” and if a party does not hold “exclusionary rights


                                                  5
         Case 6:22-cv-01047-KC Document 32 Filed 03/10/23 Page 10 of 16




in a patent, then it may not sue to enforce the patent at all, as it has not suffered injury by

infringement.” Climb Tech, LLC, 2009 WL 10670045, at *4. Further, a patent plaintiff must have

sufficient legal rights in the patent “at the time they file a lawsuit, and nunc pro tunc assignments

are insufficient to confer standing.” Id. (citing Enzo APA & Son, Inc. v. Geapag A.G., 134 F.3d

1090, 1093 (Fed. Cir. 1998)).

       The plaintiff bears the burden of showing jurisdiction and parties may offer factual

evidence bearing on that question. See Williamson v. Tucker, 645 F.2d 404, 413–15 (5th Cir. 1981).

Resolving that factual issue is reserved for the district court, not the jury, unless the jurisdictional

issue is inextricably intertwined with the merits of the underlying dispute. See id. at 413 (“It is

elementary that a district court has broader power to decide its own right to hear the case than it

has when the merits of the case are reached. Jurisdictional issues are for the court—not a jury—to

decide, whether they hinge on legal or factual determinations.”); Land v. Dollar, 330 U.S. 731,

735 n.4 (1947) (“[W]hen a question of the District Court’s jurisdiction is raised, either by the party

or by the court on its own motion, . . . the court may inquire by affidavits or otherwise into the

facts as they exist.”). The plaintiff asserting federal jurisdiction must establish standing by a

preponderance of the evidence. See Superior MRI Servs. v. All. HealthCare Servs., 778 F.3d 502,

504 (5th Cir. 2015). “These principles apply with full force in patent cases.” Script Sec. Sols., LLC

v. Amazon.com, Inc., 2016 WL 6433776, at *3 (E.D. Tex. Oct. 31, 2016).

IV.    ARGUMENTS

       A.      VIAAS Lacks Standing Because Third Iris Corp., Not VIAAS, Owns the
               Patents

       VIAAS lacks standing to sue Cisco for infringement because the record fails to show that

it has an “exclusionary right” in the Asserted Patents. Climb Tech, LLC, 2009 WL 10670045, at

*4. The publicly-available records show that VIAAS is not the rightful assignee of the Asserted



                                                   6
         Case 6:22-cv-01047-KC Document 32 Filed 03/10/23 Page 11 of 16




Patents. On March 2, 2009, the only named inventor, Mr. Roskowski, assigned the ’437 application

(now the ’888 patent) and “all Patent(s) granted on any application which is a divisional,

substitution, continuation, or continuation-in-part” of the ’437 application, to Third Iris Corp. (Ex.

D at Reel: 022333/Frame: 0480). The ’069 patent issued from a divisional application of the ’437

application, and thus falls within the scope of Mr. Roskowski’s original assignment to Third Iris

Corp. See Dkt. 1, Ex. B (’069 patent). The Asserted Patents were both therefore assigned to Third

Iris Corp. by the original owner. Later, Mr. Roskowski purportedly transferred rights to the ’888

patent to Barracuda who later purportedly assigned rights to the Asserted Patents to VIAAS. See

Section II, supra. But there are no documents recorded with the USPTO, alleged in the Complaint,

or presented by VIAAS in its Opposition to Google’s Motion which show a transfer of rights to

the Asserted Patents from Third Iris Corp. back to Mr. Roskowski after he assigned them to Third

Iris Corp. in 2009. Thus, Third Iris Corp., not VIAAS, remains the owner of the Asserted Patents.

       In its Opposition to Google’s Motion, VIAAS argued that title to the Asserted Patents

passed to Barracuda from Third Iris Corp. by operation of law. In support, VIAAS pointed to a

2015 Delaware certificate of dissolution of an entity named Third Iris, Inc. (Ex. L at 11; Ex. M;

Ex. N). But the dissolution of Third Iris, Inc., a Delaware corporation, has nothing to do with Third

Iris Corp., a Cayman Islands corporation and original assignee of the Asserted Patents. VIAAS

certainly has not provided any evidence why the two entities are linked or how this evidence is

relevant to Third Iris Corp.’s ownership of the patents. Further, other than describing Barracuda

as a “common parent,” the certificate of dissolution does not reference any transfer of assets from

Third Iris Inc. to Barracuda. (Ex. N).

       Courts generally look to state law to decide whether the ownership had been transferred by

operation of law. Akazawa v. Link New Tech. Int’l, Inc., 520 F.3d 1354, 1357 (Fed. Cir. 2008).




                                                  7
         Case 6:22-cv-01047-KC Document 32 Filed 03/10/23 Page 12 of 16




Here, Third Iris, Inc. filed for dissolution in Delaware, and according to Delaware law, any

remaining assets after resolution of claims and obligations must be distributed to the stockholders

of the dissolved corporation. 8 Del. C. § 281. But, notwithstanding Section 281, a parent entity of

a wholly-owned subsidiary does not automatically receive ownership of that corporation’s patents

after the subsidiary’s dissolution. Advanced Video Techs., LLC v. HTC Corp., 103 F. Supp. 3d 409,

420 (S.D.N.Y. 2015) (applying Delaware law). The Advanced Video court held that, despite the

“remaining assets” language in Section 281, a dissolving corporation or some successor entity

must adopt a “plan of distribution” of the dissolving corporation’s assets at some time during the

three-year statutory wind-down period. Id. at 421-22. VIAAS has not presented any such evidence,

thus the unrebutted evidence shows that Third Iris Corp. remains the owner of the Asserted Patents.

       Moreover, even though the public record lacks an assignment from Third Iris Corp. to

Barracuda, Barracuda posted the Asserted Patents as collateral to financial institutions for credits

and loans. These include: (1) a security agreement on October 3, 2012 with Silicon Valley Bank

related to the ’888 patent (Ex. B), which was terminated and released by Silicon National Bank in

favor of Barracuda on January 2, 2018 (Ex. C); (2) an August 15, 2022 Grant of First Lien Security

Interest in Patent Rights from Barracuda to UBS AG, Stamford Branch to “all of its right, title and

interest in” the ’069 patent, among other patents (Ex. J at Reel: 061377/Frames: 0213, 0230); and

(3) an August 15, 2022 Grant of Second Lien Security Interest in Patent Rights from Barracuda to

KKR Loan Administration Services to “all of its right, title and interest in” the ’069 patent, among

other patents (Ex. K at Reel: 061377/Frames: 0236, 0253). The documents show that as recently

as August 2022—just a couple of months before VIAAS filed this lawsuit—Barracuda was

collateralizing its ownership over the patents, reinforcing that VIAAS did not have sufficient

ownership rights to the Asserted Patents at the time of filing this lawsuit.




                                                  8
         Case 6:22-cv-01047-KC Document 32 Filed 03/10/23 Page 13 of 16




       B.      VIAAS Lacks Standing Because the Agreement between Barracuda and
               VIAAS Never Conveyed Interest in the Patents to VIAAS

       Even if Barracuda owned the Asserted Patents after Third Iris Corp.—which it did not for

the reasons set forth above—VIAAS would still lack standing because the agreement between

Barracuda and VIAAS did not convey sufficient interest in the Asserted Patents to VIAAS.

Amendment No. 1—the only publicly recorded agreement conveying interests from Barracuda to

VIAAS—incorporated Schedule 1.04 (“Software and Patent License Grant”) into the 2017 APA,

and it identifies VIAAS as the “Buyer” and Barracuda as the “Seller.” Ex. F at Reel: 042834/Frame:

0057. Section 2, titled “Transfer of Patent Ownership from Seller to Buyer,” provides that: “Buyer

[VIAAS] may request transfer of the patents issued with the following application numbers from

Seller [Barracuda] and Seller [Barracuda] will transfer such patents upon request.” Id. (emphasis

added). Barracuda thus merely promised to assign the patents to VIAAS upon request—i.e., a

conditional promise to assign the patents in the future. There is no allegation—let alone evidence—

suggesting that VIAAS ever made a request to satisfy the condition or that Barracuda acted on its

promise. Indeed, if the parties had intended to immediately transfer rights rather than make a

conditional promise to transfer in the future, Amendment No. 1’s Section 2 would have mimicked

Schedule 1.04’s other two sections, which included a “hereby grants” clause. Id. But it did not. As

it stands, Barracuda’s mere promise to assign is thus insufficient to convey interest in the Asserted

Patents to VIAAS. See Climb Tech, LLC, 2009 WL 10670045, at *4. VIAAS thus lacks standing

to bring this lawsuit. See Morrow, 499 F.3d at 1339.

       C.      Even If VIAAS Has Limited Rights to the Asserted Patents, It Does Not Have
               an Exclusionary Right

       Even if VIAAS has limited rights to the Asserted Patents—which it did not for the reasons

set forth above—it does not have any exclusionary rights to the Asserted Patents. The Federal

Circuit is clear: “Parties that hold the exclusionary rights [under a patent] are often identified as


                                                 9
            Case 6:22-cv-01047-KC Document 32 Filed 03/10/23 Page 14 of 16




exclusive licensees, because the grant of an exclusive license to make, use, or sell the patented

invention carries with it the right to prevent others from practicing the invention.” Morrow, 499

F.3d at 1264-65. In contrast, an entity “lacks standing to sue a party who has the ability to obtain

such a license from another party with the right to grant it.” WiAV Sols. LLC v. Motorola, Inc., 631

F.3d 1257 at 1266-67 (Fed. Cir. 2010); see also Speedplay, Inc. v. Bebop, Inc., 211 F.3d 1245,

1251 (Fed. Cir. 2000) (an entity’s right to sue is “illusory” when another entity “can render that

right nugatory by granting the alleged infringer a royalty-free sublicense”). That is exactly the case

here. Cisco can obtain a license to practice the Asserted Patents from Barracuda. The Purported

VIAAS Assignment between Barracuda and VIAAS grants Barracuda “all rights to settle or collect

damages, compensation or any other recovery or legal or equitable relief of any nature for any past,

present, or future infringement of the Patents including sub-licensing the Patents to any third

party sued for infringement.” Ex. F at Reel: 042834/Frame: 0057 (emphasis added). VIAAS thus

does not have exclusionary rights to the Asserted Patents and cannot be injured by Cisco’s alleged

infringement. Morrow, 499 F.3d at 1342 (an entity that “hold[s] less than all substantial rights to

the patent and lack[s] exclusionary rights” is “not injured by a party that makes, uses, or sells the

patented invention because [it] does not hold the necessary exclusionary rights”). So even if

VIAAS had some interest in the Asserted Patents, it still lacks constitutional standing to sue Cisco

for infringement.

V.     CONCLUSION

       In view of the foregoing, Cisco respectfully requests that this Court grant Cisco’s Motion

to Dismiss VIAAS’s Complaint with prejudice pursuant to Federal Rule of Civil Procedure

12(b)(1).




                                                 10
        Case 6:22-cv-01047-KC Document 32 Filed 03/10/23 Page 15 of 16




Dated: March 10, 2023               Respectfully submitted,

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                                      11
         Case 6:22-cv-01047-KC Document 32 Filed 03/10/23 Page 16 of 16




                              CERTIFICATE OF CONFERENCE

       I certify that on March 10, 2023, counsel for Defendant, Krishnan Padmanabhan, conferred

by email with counsel for Plaintiff, William P. Ramey, III, and on that same date was informed by

email from counsel for Plaintiff that Plaintiff opposes the relief requested in this motion.

                                              /s/ K. Padmanabhan
                                              K. Padmanabhan


                                 CERTIFICATE OF SERVICE

       I certify that on March 10, 2023, a copy of the foregoing was electronically filed with the

Clerk of Court using the CM/ECF system, which sends notifications of such filing to all counsel

of record who have consented to accept service by electronic means.

                                              /s/ K. Padmanabhan
                                              K. Padmanabhan




                                                 12
